Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 1 of 10 PageID #: 72901




                                                                           17-MDL-2804

                                                                       PLAINTIFFS TRIAL
                                                                           EXHIBIT
                                                                     P-00116_00001
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 2 of 10 PageID #: 72902
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 3 of 10 PageID #: 72903
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 4 of 10 PageID #: 72904
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 5 of 10 PageID #: 72905
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 6 of 10 PageID #: 72906
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 7 of 10 PageID #: 72907
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 8 of 10 PageID #: 72908
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 9 of 10 PageID #: 72909
Case 3:17-cv-01362 Document 1509-14 Filed 01/12/22 Page 10 of 10 PageID #: 72910
